       Case 1:21-cr-00392-RCL Document 188-1 Filed 04/04/23 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                   :
                                           :
       v.                                  :       Criminal No. 21-cr-392-3(RCL)
                                           :
ERIK WARNER,                               :
                     Defendant.            :

                                           ORDER

       Pending before the Court is the unopposed motion for the defendant to appear remotely at

the motions hearing on April 26, 2023. Finding the motion is unopposed and meritorious, it is

       ORDERED that the motion is GRANTED/DENIED.

       Signed this             day of ________________, 2023.



                                           ______________________________________
                                           ROYCE C. LAMBERTH
                                           United States District Judge
